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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
INTERFOCUS INC., a California
Corporation,
_ Plaintiff,
v. Case No.: 1:22-cv-02259

Hibobi Technology Ltd; Hangzhou Hibaby
Technology Co. Ltd; Hangzhou Haibaobei
Technology Co., Ltd; Hangzhou Hibao
Technology Co., Ltd. Hibobi Holdings,
Limited, and Hangzhou Jiulong Technology
Co. Ltd.

Honorable Steven C. Seeger

Defendants.

 

 

 

 

VERIFICATION
I, Sandi Graham, am the Vice President of Design and Merchandising for Interfocus, Inc.
I am the agent of Interfocus Inc. for the purpose of Plaintiff's First Amended and Supplemental
Complaint (Dkt. No. 53). I have read the foregoing First Amended and Supplemental Complaint
and attached Schedule and Exhibits, which are true according to the best of my knowledge,
information, and belief. I declare under penalty of perjury under the laws of the United States

that the foregoing is true and correct.

Dated this 16th day of November, 2022.

Jandud Wa Wain

sandi Graham

 
